  Case 19-10782      Doc 5     Filed 03/12/19    Entered 03/12/19 09:56:15            Desc Main
                                  Document       Page 1 of 1




                                                Certificate Number: 03621-MA-CC-032272780


                                                              03621-MA-CC-032272780




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 9, 2019, at 4:04 o'clock PM EST, Andrew Greenhut
received from Credit Card Management Services, Inc. d/b/a Debthelper.com, an
agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the
District of Massachusetts, an individual [or group] briefing that complied with the
provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 9, 2019                        By:      /s/Wafaa Elmaaroufi


                                                Name: Wafaa Elmaaroufi


                                                Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
